     Case 8:21-ap-01095-SC              Doc 54 Filed 09/01/22 Entered 09/01/22 18:17:56             Desc
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                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
6                                                                          BY bolte      DEPUTY CLERK


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8                               UNITED STATES BANKRUPTCY COURT

9                   CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

10
     In re:                                               CHAPTER 7
11
     Jamie Lynn Gallian,                                  Case No.: 8:21-bk-11710-SC
12                                                        Adv No: 8:21-ap-01095-SC
13                                                        ORDER CONTINUING PRETRIAL HEARING
14                                          Debtor(s).
     The Huntington Beach Gables                  New Date/Time:
15   Homeowners Association,                      Date:           September 27, 2022
16                                  Plaintiff(s), Time:           1:30 p.m.
         v.                                       Courtroom:      5C-Virtual. Accessibility
                                                  information will be posted into the tentative
17                                                ruling prior to the hearing.
     Jamie L Gallian, Randall L Nickel,
18
                                         Defendant(s).
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21             The Pretrial Conference scheduled for September 22, 2022, at 10:00 a.m. is

22   hereby CONTINUED to September 27, 2022, at 1:30 p.m.

23             IT IS SO ORDERED.

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25            Date: September 1, 2022

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